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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:19-cv-1515

Regina Dibala,

       Plaintiff,

v.

DePuy Orthopaedics, Inc., an Indiana Corporation and
Medical Device Business Services, Inc.,
an Indiana Corporation.

       Defendants.


                            COMPLAINT AND JURY DEMAND


        Regina Dibala (hereinafter “Plaintiff” or “Mrs. Dibala”), through her attorneys, BAITY &

LINDVIG, LLC, hereby submits the following Complaint and Jury Demand against DePuy

Orthopedics, Inc. now known as Medical Device Business Services, Inc., and states as follow:

                              THE PARTIES & JURISDICTION

       1.      Mrs. Dibala is and at all times relevant to this action a citizen and resident of the

State of Colorado, residing in Jefferson County, Colorado.

       2.      DePuy Orthopaedics, Inc. (“DePuy”) was and at all times relevant a corporation

organized and existing under the laws of the State of Indiana, with its headquarters and principal

place of business at 700 Orthopaedic Drive, Warsaw, Indiana, 46581, and duly licensed and

authorized to conduct business within the state of Colorado. Its Registered Agent is The

Corporation Company, 7700 E. Arapahoe Rd., Ste. 220, Centennial, Colorado 80112. At all

relevant times, Defendant DePuy Orthopaedics, Inc. regularly conducted business in Colorado
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        3.      In March, 2017, DePuy changed its entity name to Medical Device Business

Services, Inc. (“MDBS”).

        4.      Defendant Medical Device Business Services, Inc., is an Indiana corporation with

its principal place of business located at 700 Orthopaedic Drive, Warsaw, Indiana 46582, which is

located in Kosciusko County. At all relevant times, Defendant Medical Device Business Services

regularly conducted business in Colorado.

        5.      At all times relevant, Defendants were the representatives, agents, employees,

coconspirators, servants, employees, partners, joint-venturers, franchisees, or alter egos of the

other Defendants and were acting within the scope of such authority in such conspiracy, service,

agency, employment, partnership, joint venture and/or franchise.

        6.      Each Defendant was involved in the business of designing, licensing,

manufacturing, distributing, selling, marketing, and introducing into interstate commerce, either

directly or indirectly through third parties or related entities, numerous orthopedic products,

including the DePuy ATTUNE Knee System, as well as monitoring and reporting adverse events.

        7.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, because

the amount in controversy exceeds $75,000.00, exclusive of interest and costs, and because

Defendants are incorporated and have their principal places of business in states other than the

state in which Plaintiff resides.

        8.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events giving rise to Plaintiff’s claims occurred, in part, in this District, and because

Defendants conducted regular business in this District.

        9.      Plaintiff resides in Arapahoe County, Colorado which is in the United States

District Court for Colorado.
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                                  GENERAL ALLEGATIONS

       10.       The knee is the largest joint in the human body, consisting of three individual

bones: the shin bone (tibia), the thigh bone (femur), and the knee-cap (patella). The knee joint is

lined with cartilage to protect the bones from rubbing against each other. This ensures that the

joint surfaces can glide easily over one another. The human knee is a complicated joint which

supports the entire body weight on four surfaces through a variety of motions essential to

everyday life.

       11.       People who suffer pain and disability from injury or damage to the knee joint may

elect to have a knee replacement. Knee replacement technology can provide a solution to the pain

and restore basic function. Total knee arthroplasty (“TKA”), also called total knee replacement

(“TKR”), is a commonly performed orthopedic procedure. The surgery is designed to help relieve

pain, to improve joint function, and to replace bones, cartilage and/or tissue that have been

severely injured and/or worn down generally in people with severe knee degeneration due to

arthritis, other disease or trauma.

                 HISTORY OF DEPUY KNEES AND THE ATTUNE SYSTEM

       12.       Defendants represented that the DePuy AttuneTM Knee System “builds on the LCS

Complete Knee System and the Sigma Rotating Platform Knee” both of which are also

Defendants’ products.

       13.       Defendants introduced the DePuy Synthes P.F.C. SIGMA System (“SIGMA

system”) in 1996.

       14.       The SIGMA system was one of the most widely used TKAs worldwide, and

Defendants quickly became one of the largest manufacturers of knee replacement devices in the
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United States. According to Defendants, the SIGMA system has demonstrated excellent

survivorship with 99.6% at 7 years.

       15.     Notwithstanding Defendants’ alleged success with the SIGMA system, as reported

by DePuy, the company began to alter the SIGMA system design in an effort to replicate the total

flexion of the natural knee and maintain a competitive position in the market. This new project—

one that Defendants boasted as their largest research and development project ever, carrying a

price tag of approximately $200 million—resulted in the DePuy AttuneTM Knee System,

(“ATTUNE system”).

       16.     According to Defendants, the new ATTUNE system was an attempt to improve

functional outcomes, provide more stability and simplify implantation of the contemporary total

knee system.

       17.     Defendants represented the ATTUNE system featured a gradually reducing femoral

radius, an innovative s-curve design of the posteriorly stabilized cam, a tibial base which can be

downsized or upsized two sizes versus the insert, novel patella tracking, lighter innovative

instruments, and a new polyethylene formulation.

       18.     Defendants sought FDA clearance for the ATTUNE system through the “510(k)”

process.

       19.     Section 510(k) of the Food, Drug and Cosmetic Act provides a mechanism for

device manufacturers to obtain accelerated FDA clearance for products that are shown to be

“substantially equivalent” to a product that has previously received FDA approval. The process

requires device manufacturers to notify the FDA of their intent to market a medical device at least

90 days in advance of introduction to the market. This is known as Premarket Notification – also
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called PMN or 510(k). This approval process allows the FDA to determine whether the device is

substantially equivalent to a device already approved for marketing.

       20.    In December 2010, Defendants received FDA clearance of the ATTUNE System

under the “510k” notification process. The basis for FDA clearance was substantial similarity to

several prior devices, including, but not limited to, the P.F.C. SIGMA Knee System.

Consequently, Defendants received FDA 510(k) approval of the components of the ATTUNE

system in 2010 and 2011 with very limited testing of the new ATTUNE system.

       21.    The ATTUNE system includes the Attune Tibial Base (510K Number K101433),

also called the tibial tray, which, as compared to the SIGMA system, included a design change to

the keel, the surface texture and/or finish of the tibial baseplate and “combined with new

technology to treat the underside of the implant,” among other changes.

       22.    The design and composition of the ATTUNE system, especially the tibial baseplate,

is defective and failed resulting in harm to Regina Dibala.

       23.    In March 2013, Defendants introduced its ATTUNE system, including procedures

for implantation, to surgeons and consumers. On March 20, 2013, Defendants issued a press

release widely introducing its “latest innovation in total knee replacement—the ATTUNE Knee

System—at the 2013 American Academy of Orthopedic Surgeons (AAOS) annual meeting in

Chicago.”

       24.    According to the Press release, the ATTUNE system was “designed to provide

better range of motion and address the unstable feeling some patients experience during everyday

activities, such as stair descent and bending.”      According to Defendants, its “proprietary

technologies include: … SOFCAMTM Contact: An S-curve design that provides a smooth

engagement for stability through flexion, while reducing stresses placed on the implant.”
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       25.    Defendants claimed the Attune system contained “new” technologies and that the

Attune system was one of the largest research and development projects in the history of the

DePuy Synthes Companies, costing approximately $200 million. Defendants claimed the

following features of the ATTUNE system: “the largest clinical program at DePuy,” “improves

value of TKA,” “compares favorably in joint registries,” and “significantly less symptomatic

crepitus, primarily Sigma PS.”

       26.    The most notable improvement Defendants purported to make between the SIGMA

and ATTUNE system is the patented S-curve design of the femoral component. This feature,

according to Defendants conferred greater mid flexion stability as the implanted knee moves from

extension to flexion because of the more gradual change in the femoral component radius of

curvature. This design feature was also proposed to offer greater functional benefits and a greater

range of movement as compared to other implants.

       27.    However, the ATTUNE system did not deliver on these promises, resulting in

significantly higher failure rates than previous Defendant knee counterparts due to the debonding

of the tibial baseplate. As a result, thousands of knee replacement patients implanted with

ATTUNE systems have had more expensive, more dangerous and less effective total knee

replacement surgeries, and many have required or will require expensive and dangerous knee

revision surgery to remove and replace the defective ATTUNE system.

       28.    Since the initial launch, Defendants have continued to expand the ATTUNE system

product line based on claims it would provide a more life-like knee to patients who were

“expecting to maintain an active lifestyle.” Defendants have successfully marketed the ATTUNE

system and have become the dominant player in the knee market, upon information and belief,

selling approximately 400,000 ATTUNE systems worldwide.
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                          FAILURES OF THE ATTUNE SYSTEM

        29.   The primary reason the ATTUNE system fails is mechanical loosening. The

mechanical loosening is caused by a failure of the bond between the tibial baseplate at the implant

cement interface. The attachment between the artificial knee and the existing bone becomes loose

over time and with use. The mechanical loosening eventually results in failure of the device.

Mechanical loosening has occurred at an unprecedented rate in patients implanted with an

ATTUNE system.

        30.   Mechanical loosening of an artificial knee can be visualized and diagnosed using

radiographic imaging. The loosening can be evident from one or more radiolucent lines around

the contours of the artificial knee component where the loosening is occurring.

        31.   Mechanical loosening in an artificial knee generally causes pain and wearing away

of the bone. The patient loses function of the knee which can severely restrict a patient’s daily

activities.

        32.   Once there is mechanical loosening, the patient may require a second revision

surgery to remove the knee implant and replace it with a new one.

        33.   A failed total knee prosthesis often causes severe bone loss. Therefore, revision

surgeries are often more complicated and the patient has a greater period of recovery.

        34.   The success rate of a revision surgery is much lower than that of the initial total

knee replacement and the risks and complications are higher, including increased pain and

limitations in range of motion.

        35.   Beginning in 2013, Defendants became aware of issues with the ATTUNE system.

These concerns were evidenced through failure reports submitted to and kept in the FDA’s

Manufacturer and User Facility Device Experience (MAUDE), which houses medical device
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reports submitted to the FDA by reporters such as manufacturers, importers and device user

facilities. Most related reports concern failures caused by ATTUNE system design elements

which caused loosening and/or de-bonding at the tibial baseplate cement/implant interface. These

MAUDE reports detail a high incidence of aseptic loosening at the tibial baseplate of the

ATTUNE system resulting in subsequent revision surgeries.

       36.    Upon information and belief, the FDA MAUDE database, as of June 2017, includes

approximately 1,400 reports of failures. Approximately 633 of these reports resulted in revision

surgeries.

       37.    On March 15, 2017, DePuy Synthes, at the American Academy of Orthopaedic

Surgeons (“AAOS”) Annual Meeting in San Diego, California, announced the launch of the first

ATTUNE Revision Knee System (“ATTUNE Revised system”), which included the Attune

Revision Fixed Bearing Tibial Base and a 14 x 50 mm Cemented Stem.

       38.    Ostensibly, noticing the alarming rate of failure and subsequent revisions related to

the ATTUNE system, on March 10, 2016, Defendants submitted a Section 510(k) premarket

notice of intent to market the ATTUNE Revised system, which included a new stem, with added

length and a keel for additional stability and recessed cement pockets intended to promote cement

fixation. The stem of the ATTUNE Revised system was designed with a cylindrical or tapered

body geometry with a blasted and fluted fixation surface.

       39.    Without notifying consumers, doctors or patients, including Plaintiff and her

physicians, Defendants recently attempted to replace the original Attune Fixed Base tibial

baseplate with a new tibial baseplate, also called a tibial tray, which received FDA 510(k)

clearance on June 15, 2017. This strategic decision to design and launch a newly designed tibial

baseplate is an admission, or compelling evidence, the original Attune tibial baseplate is defective
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and prone to failure. However, Defendants have not recalled the defective tibial baseplate or

informed consumers and surgeons about the dangers of its use.

       40.     Defendants requested FDA approval of the new tibial baseplate by application

dated March 17, 2017, which was “prepared” by Defendants on March 16, 2016. The application

requested clearance of a new tibial baseplate component as part of the Attune system, which, upon

information and belief, has been called the “Attune S+ Technology” (“ATTUNE S+”) by

Defendants. In particular, the application identified the design changes that were implemented

with the ATTUNE S+, including a newly designed “keel to provide additional stability,”

“recessed undercut cement pockets,” and a “grit blasted surface for enhanced cement fixation” or

microblast finish.

       41.     The “Summary of Technologies” portion of the 510(k) application for the

ATTUNE S+ tibial baseplate includes the following: The ATTUNE Cemented Tibial Base, FB

provides a macro geometric feature and an optimized micro-blast finish which are both intended

to aid in fixation of the tibial implant to the bone cement. The ATTUNE Cemented Tibial Base,

FB is designed to enhance fixation by improving resistance (relative to the industry) to intra-

operative factors which can result in a reduction in cement to implant bond.

       42.     Additionally, according to Defendants, the ATTUNE S+ tibial baseplate also

features macro geometry and 45-degree undercut pockets designed to provide a macro-lock

between the cement-implant interface. According to Defendants, the “ATTUNE S+ Technology

finishing process increases the surface roughness compared with other, DePuy Synthes clinically

proven, tibial tray designs that were tested.” See Depuy Synthes Powerpoint, “ATTUNE S+

Technology.”
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        43.    Defendants knew about the design defects and resulting failures with the original

 ATTUNE tibial baseplate before the newly designed tibial baseplate (ATTUNE S+) was cleared

 in June 2017, yet they failed to share this information with orthopedic surgeons using the

 ATTUNE systems.

        44.    By March 16, 2016, Defendants had recognized the existence of high failure rates

 of the original ATTUNE tibial baseplate, identified the defects and/or mechanisms of failure

 associated with it, researched and designed the new tibial tray/baseplate (ATTUNE S+),

 conducted testing of this new tibial baseplate, as detailed in the application, and submitted the

 application to the FDA.

        45.    Although Defendants knew about the high number of ATTUNE system failures

 resulting in revision surgeries, Defendants failed to warn surgeons, consumers and patients, and

 allowed the original, defective design to continue to be implanted by unsuspecting surgeons into

 unsuspecting patients.

        46.    Beginning in December 2016, Defendants began openly admitting, in its responses

 in the MAUDE failure reports, that the ATTUNE systems were failing. Although Defendants

 decided to make a change, it did not inform the surgeons, consumers and/or patients. In

 responding to the MAUDE reports involving failures of ATTUNE tibial baseplates, Defendants

 frequently provided the following “Manufacturer Narrative”: The information received will be

 retained for potential series investigations if triggered by trend analysis, post market surveillance

 or other events within the quality system. (b)(4) has been undertaken to investigate further. The

 analysis and investigations eventually led to a new product development project, which will

 enhance fixation and make the product more robust to surgical technique per co (b)(4). DePuy
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 considers the investigation closed at this time. Should the additional information be received, the

 information will be reviewed and the investigation will be reopened as necessary.

          47.   In January 2017, the Journal of Arthroplasty published a study, led by Dr. Raymond

 H. Kim and other surgeons at Colorado Joint Replacement, Department of Orthopedic Surgery,

 and OrthoCarolina, Department of Orthopaedic Surgery entitled, Tibial Tray Thickness

 Significantly Increases Medial Tibial Bone Resorption in Cobalt-Chromium Total Knee

 Arthroplasty Implants. The study reported that the thicker cobalt-chromium baseplate of the

 ATTUNE system was associated with significantly more tibial bone loss.

          48.   During the AAOS Annual Meeting in March 2017, Dr. Todd Kelley, Assistant

 Professor of Orthopaedic Surgery at the University of Cincinnati College of Medicine, presented

 a poster entitled High Incidence of Stress Shielding and Radiolucent Lines with a Novel Total

 Knee System, which involved a study of the ATTUNE system.

          49.   Prior to the study, the evaluators acknowledged that a relationship between stress

 shielding and bone resorption leading to aseptic loosening and implant failure existed.

 Consequently, the purpose of the study was to determine the incidence of radiographic stress

 shielding and radiolucent lines in the tibia and femur during the early postoperative period

 following the implant of an ATTUNE system.

          50.   As part of this study, 164 patients underwent a total knee replacement with the

 ATTUNE system between February 2013 and February 2015. The mean length of the

 postoperative radiographic follow up was eight months. For all evaluators in the study, stress

 shielding was most frequently identified at the same three zones, with the highest incidence at

 “tibial AP zone 1,” which was the medial baseplate. The incidence rate at this zone was 39.0%-

 48.5%.
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           51.   The findings also demonstrated that the mean incidence rate of stress shielding at

 the tibial AP zone 1 among all evaluators was 43.1% and the mean incidence rate of radiolucent

 lines observed at this zone was 12.0%. These rates far exceed the rate expected in the post-surgery

 period.

           52.   In 2017, the alarming rate of failure associated with the ATTUNE system due to

 debonding of the tibial baseplate was discussed in a paper written by Dr. Peter M. Bonutti and

 colleagues, entitled Unusually High Rate of Early Failure of Tibial Component in ATTUNE Total

 Knee Arthoplasty System at Implant-Cement Interface. The article presented compelling

 evidence that the design and/or composition of the ATTUNE system, and particularly the tibial

 baseplate component, contribute greatly to de-bonding at the interface between the cement and

 the tibial baseplate, resulting in high rates of failure and revision surgery.

           53.   The authors’ intraoperative findings identified freely mobile tibial baseplates with

 loosening occurring at the implant-cement interface. In all tibial baseplate failures in the study,

 the tibial component had de-bonded and was easily separated from the cement mantle, while all

 the cement was strongly adherent to the tibial bone. On the femoral side, however, the cement

 was strongly adherent to the implant surface in all cases. The mean time to revision for those

 ATTUNE systems involved in the study was 19 months.

           54.   The authors of the Bonutti study concluded that high rates of ATTUNE system

 failures due to de-bonding at the tibial-cement interface could be caused by a combination of

 factors, including the increased constraint of the ATTUNE’s tibial polyethylene component;

 rounded edges and reduced cement pockets necessary for cement inter-digitation in the tibia, as

 compared to the DePuy SIGMA; reduced keel rotational flanges and/or stabilizers on the keel;

 and insufficient surface roughness of the tibial baseplate component.
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        55.    Despite Defendants’ claim that the ATTUNE system would be easier to implant,

 after being notified of premature tibial baseplate failures, Defendants began blaming implanting

 surgeons and their surgical technique for the failures of the ATTUNE tibial baseplates rather than

 the ATTUNE system’s defects, which Defendants knew existed.

                  DEFENDANTS’ MARKETING OF ATTUNE SYSTEMS

        56.    According to Defendants, the ATTUNE system produces better stability of the knee

 in deep flexion, reduces the joint forces, and produces better patella tracking, operative flexibility

 and efficiency, and implant longevity. Defendants marketed the ATTUNE system based on these

 assertions. Despite these claims, large numbers of revision cases appeared in a short period

 resulting from the defects in the ATTUNE tibial baseplate.

        57.    Defendants promised patients they could recover faster, and engage in more active

 lifestyles. Contrary to Defendants’ representations, however, the ATTUNE system is prone to

 failure, causing patients to experience additional pain and injury.

        58.    Defendants designed, manufactured, tested, labeled, packaged, distributed,

 supplied, marketed, advertised, and/or otherwise engaged in all activities that are part of the sale

 and distribution of medical devices, and by these activities, caused the ATTUNE systems to be

 placed into the stream of commerce throughout the United States, including Colorado.

        59.    Defendants actively and aggressively marketed to doctors and the public that the

 ATTUNE systems were safe and effective total knee prostheses.

        60.    From the time that Defendants first began selling the ATTUNE systems, the

 product labeling and product information for the ATTUNE system failed to contain adequate

 information, instructions, and warnings concerning the increased risk that the ATTUNE system

 fails at an extremely high rate.
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        61.    Despite Defendants’ knowledge of the serious injuries associated with the use of

 the ATTUNE system, Defendants continue to engage in marketing and advertising programs

 which falsely and deceptively create the perception that the ATTUNE system is safe.

        62.    Upon information and belief, Defendants downplayed the health risks associated

 with the ATTUNE system through promotional literature and communications with orthopedic

 surgeons. Defendants deceived doctors, including Plaintiff’s surgeon, and potential users of the

 ATTUNE system by relaying positive information, while concealing the nature and extent of the

 known adverse and serious health effects of the ATTUNE system.

        63.    Based on the design changes made to the original Attune tibial baseplate before it

 was put on the market, and the number of failures reported since it was launched, Defendants,

 through their premarketing and post-marketing analysis, knew or should have known that the

 ATTUNE system was prone to fail. Plaintiff the ATTUNE system is defective and unreasonably

 dangerous.

                        CASE SPECIFIC FACTUAL ALLEGATIONS

        64.    On or about April 8, 2013, Plaintiff underwent a surgical procedure by Dr. John S.

 Xenos, M.D., at the Sky Ridge Medical Center in Lone Tree, Colorado. The surgical procedure

 was a left total knee arthroplasty. Plaintiff’s natural, biological left knee joint was removed and

 replaced by an artificial knee prosthesis manufactured and marketed by the Defendant and known

 as the ATTUNE Knee system.

        65.    In a total knee replacement surgery, physicians resurface the bone at the top of the

 shin (tibia) with a metal tray topped with a medical-grade plastic spacer, called a bearing. This

 plastic replaces the cartilage, providing a cushioning surface for the new knee. The bottom of the

 thigh (femur) bone is resurfaced with a rounded metal part. This piece is designed to mimic the
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 curve of the natural bone.      These components can be fixed to the bone by either using bone

 cement or a press fi, allowing the bone to grow into the coating on the implant.

         66.    The Defendant represented that physical therapists noted that ATTUNE Knee

 System patients had significantly greater range of motion than other knee replacement patients.

 Defendant represented that the ATTUNE Knee System helps you maintain stability during

 activities like walking and going up and down stairs.

         67.    Contrary to these claims, the ATTUNE Knee System was in fact prone to premature

 failure and dislocation and to cause patients to experience great pain an instability. In addition,

 the glue used to adhere the parts was known to fail, cause patients to feel a slipping sensation and

 instability.

         68.    Within 5 years after the ATTUNE system was implanted, Mrs. Dibala began

 experiencing severe and persistent pain, discomfort, instability and difficulty ambulating caused

 by aseptic loosening of the defective ATTUNE tibial baseplate.

         69.    Mrs. Dibala’s physician took and viewed radiographs which showed loosening and

 debonding of the tibial tray.

         70.    On December 12, 2018, Mrs. Dibala underwent revision surgery due to loosening

 of the components of the ATTUNE system implanted in her right knee. This surgery was

 performed by Dr. John S. Xenos at the Sky Ridge Medical Center in Lone Tree, Colorado. Neither

 Mrs. Dibala nor her physicians were aware, by warning or otherwise, of the defects in the

 ATTUNE system, and would not have used the ATTUNE system had they been aware of the

 defective nature of the device.

         71.    As a direct and proximate result of Defendants placing the ATTUNE system in the

 stream of commerce, Mrs. Dibala has suffered and continues to suffer both injuries and damages,
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 including, but not limited to: past, present and future physical and mental pain and suffering; and

 past, present and future medical, hospital, rehabilitative, monitoring, and pharmaceutical

 expenses, economic damages, severe and possibly permanent injuries, and other related damages.

        72.    All of the injuries and complications suffered by Plaintiff were caused by the

 defective design, warnings, construction, and unreasonably dangerous character of the ATTUNE

 system that was implanted in him. Had Defendants not concealed the known defects, the early

 failure rate, the known complications, and the unreasonable risks associated with the use of the

 ATTUNE system, Ms. Dibala would not have consented to the ATTUNE system being used in

 her total knee arthroplasty.

        73.     The said MDBS product was used for the purpose for which it was designed,

 intended and marketed and, at the time it failed and injured Ms. Dibala, was not materially

 changed in any way from the condition it was in when sold by the Defendants.


                                 FIRST CLAIM FOR RELIEF
                                       (Strict Liability)

        74.     Plaintiff incorporates all other allegations of this complaint as if fully rewritten.

        75.     Plaintiff suffered injuries, damages, and losses in amounts to be proven at trial.

        76.     Defendant designed, manufactured, promoted, distributed, marketed, and sold the

 ATTUNE Knee System that was defective and injured Plaintiff.

        77.     At all times relevant, Defendants were in the business of selling ATTUNE Knee

 System for use by and upon consumers.

        78.     At all times relevant, the ATTUNE Knee system that Plaintiff received was in a

 defective and unreasonably dangerous condition. Such condition included, but is not limited to,

 one or more of the following particulars:
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      a. The ATTUNE Knee system that Plaintiff received contained design defects including

      but not limited to, mechanical loosening and failures due to de-bonding at the tibial-cement

      interface: including the increased constraint of the ATTUNE’s tibial polyethylene

      component; rounded edges and reduced cement pockets necessary for cement inter-

      digitation in the tibia; reduced keel rotational flanges and/or stabilizers on the keel; and

      insufficient surface roughness of the tibial baseplate component.

             i. The ATTUNE Knee system design of the implant subjected Plaintiff and others

      to risks, including the risk that Plaintiff would develop inflammation, swelling, and bone

      loss, as a result of the implant, causing the implant to prematurely fail, and requiring

      Plaintiff to undergo a complex risky, and painful surgery to remove and replace the

      defective implant.

             ii. Safer alternative designs existed, including the design used during Plaintiff’s

      revision surgery.

             iii. The likelihood of the ATTUNE Knee system causing injuries of the sort Plaintiff

      sustained was high, given the significant number of persons who experienced loosening

      and ultimate failure of the implant.

             iv. Neither the ultimate consumer – Plaintiff, in this case – nor her health care

      providers had the ability to avoid via exercise of reasonable care the consequences that

      befell Mrs. Dibala in this case because they did not know and had no reason to know of the

      defects in the implant.

             v. As detailed further below, the ATTUNE Knee system lacked any warnings or

      instructions that might have ameliorated the risks that resulted in Plaintiff’s injuries and

      revision surgery.
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       b. The ATTUNE Knee system that Plaintiff received was not accompanied by adequate

       instructions and/or warnings to fully inform Plaintiff’s health care providers, including Dr.

       Xenos, of the full nature or extent of the risks associated with its use. The ATTUNE Knee

       system was not accompanied by a warning which specifically and fully informed Plaintiff’s

       health care providers, including Dr. Xenos, of the risks of mechanical failure,

       inflammation, swelling, bone loss, and de-bonding associated with the implant.

        79.     Defendant knew or should have known of the dangers associated with the use of

 the ATTUNE Knee system as well as the defective nature of the ATTUNE Knee system. Such

 knowledge is evidenced by facts including, but not limited to:

               a. Current medical literature documenting a causal link between the ATTUNE knee

       system and inflammation, swelling, bone loss, and de-bonding.

               b. Prior lawsuits against Defendants alleging that the ATTUNE Knee system (or

       other similar implants) caused patients to suffer mechanical failure, inflammation,

       swelling, bone loss, and de-bonding.

        80.     The ATTUNE Knee system was in the above-described defective and

 unreasonably dangerous condition at the time Defendants placed in the stream of commerce.

        81.     The ATTUNE Knee system were expected to reach, and did reach, prescribing

 physicians and consumers, including Plaintiff, without substantial change in the condition in

 which they were sold.

        82.     At all times relevant, Plaintiff was a person in need of an artificial knee implant

 and thus a person Defendants should reasonably have expected to receive the ATTUNE Knee

 system.
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         83.     Plaintiff and her medical providers used the ATTUNE Knee system as directed,

 and for their intended purposes.

         84.     At all times relevant, the ATTUNE Knee system was defective, and Defendants

 knew that they were to be used by consumers without inspection for defects therein. Moreover,

 neither Plaintiff nor her health care providers knew or had reason to know at the time of the use

 of the subject products, of the existence of the aforementioned defects. Neither Plaintiff nor her

 physician could have discovered the defects in the ATTUNE Knee system through the exercise

 of reasonable care.

         85.     The ATTUNE Knee system were not materially altered or modified prior to their

 use in Plaintiff.

         86.     The acts of Defendants were a cause of the injuries, damages, and losses of the

 Plaintiff.

                                SECOND CLAIM FOR RELIEF
                         (Negligent Products Liability – All Defendants)

         87.     Plaintiff incorporates all other allegations of this complaint as if fully rewritten.

         88.     Plaintiff suffered injuries, damages and losses in amounts to be proven at trial.

         89.     Defendants designed, manufactured, promoted, distributed, marketed, and sold the

 ATTUNE Knee System that injured plaintiff.

         90.     At all times relevant, Plaintiff was a person in need of an artificial knee implant

 and thus a person Defendants should reasonably have expected to receive the ATTUNE Knee

 System and ATTUNE Knee System.

         91.     At all times relevant, Defendants negligently failed to exercise reasonable care to

 prevent the ATTUNE Knee System from creating an unreasonable risk of harm to persons,

 including Plaintiff, who were using the device in a manner and for a purpose for which it was
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 made. Such negligence included, but is not limited to the following: a. Designing, manufacturing,

 promoting, distributing, marketing, and selling the ATTUNE Knee System prosthetic knee

 implant despite knowledge the prosthetic knee implants pose a risk of mechanical failure,

 inflammation, swelling, bone loss, and de-bonding. b. Failing to ensure that the ATTUNE Knee

 System was accompanied by specific warnings and/or instructions sufficient to fully inform

 consumers, including Plaintiff, of the risks of mechanical failure, inflammation, swelling, bone

 loss, and de-bonding associated with the implant. d. Failing to ensure that the ATTUNE Knee

 System was accompanied by specific warnings and/or instructions sufficient to and fully inform

 physicians, health care providers and other consumers, of the risk that they might have an adverse

 reaction to the implant. e. Failing to conduct adequate testing to determine whether the ATTUNE

 Knee System, with its design and construction, would mechanically fail or de-bond in a significant

 number of recipients.

         92.    The acts of the Defendants were a cause of the injuries, damages, and losses of the

 Plaintiff.

                                 THIRD CLAIM FOR RELIEF
                         (Breach of Implied Warranties – All Defendants)

         93.    Plaintiff incorporates all other allegations of this complaint as if fully rewritten.

         94.    Plaintiff suffered injuries, damages and losses in amounts to be proven at trial.

         95.    Prior to the time that the ATTUNE Knee System and ATTUNE Knee System were

 used by Plaintiff’s surgeon and healthcare providers, Defendants impliedly warranted to Plaintiff

 that the ATTUNE Knee System was of merchantable quality and safe and fit for the use for which

 it was intended.

         96.    Plaintiff’s surgeon and healthcare providers did not research, design or

 manufacture medical devices such as the ATTUNE Knee System. Plaintiff’s surgeon and
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 healthcare providers reasonably relied on the skill, judgment, and implied warranties of

 Defendants in deciding to use the ATTUNE Knee System and ATTUNE Knee System on their

 patients, including Ms. Dibala.

         97.    The ATTUNE Knee System was neither safe for its intended use nor of

 merchantable quality, as warranted by Defendants, in that it had dangerous propensities when put

 to its intended use and would cause severe injuries to the user. Specifically: a. The mechanical

 failure of the ATTUNE Knee System subjected Plaintiff and others to risks, including the risk

 that Plaintiff would develop inflammation, swelling, bone loss, and de-bonding as a result of the

 implant, causing the implant to prematurely fail, and requiring Plaintiff to undergo a complex

 risky, and painful surgery to remove and replace the defective implant. b. The ATTUNE Knee

 System that Plaintiff received was not accompanied by adequate instructions and/or warnings to

 fully inform Plaintiff of the full nature or extent of the risks associated with its use. The ATTUNE

 Knee System was not accompanied by a warning which specifically and fully informed Plaintiff

 of the risks of mechanical failure, inflammation, swelling, bone loss, and de-bonding associated

 with the implant.

         98.    Defendants, by selling, delivering and/or distributing the defective ATTUNE

 Knee System to Plaintiff breached the implied warranty of merchantability and fitness and caused

 Plaintiff to suffer severe pain and emotional distress, incur medical expenses and incur a loss of

 earning capacity.

         99.    The acts of the Defendants were a cause of the injuries, damages, and losses of the

 Plaintiff.

                              FOURTH CLAIM FOR RELIEF
                        (Breach of Express Warranty – All Defendants)

         100.   Plaintiff incorporates all other allegations of this complaint as if fully rewritten.
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        101.    Plaintiff suffered injuries, damages and losses in amounts to be proven at trial.

        102.    At all times relevant, Defendants expressly warranted to Plaintiff’s physicians,

 surgeons and other healthcare providers, by and through statements made by Defendants or their

 authorized agents or sales representatives, orally and in publications, package inserts and other

 written materials intended for physicians, medical patients and the general public, that the

 ATTUNE Knee System was safe, effective, fit, and proper for its intended use.

        103.    Plaintiff’s physicians, surgeons and healthcare providers are not involved in the

 research, design and manufacture of medical devices such as the ATTUNE Knee System

 Plaintiff’s physicians, surgeons and healthcare providers reasonably relied entirely on the skill,

 judgment, representations and foregoing express warranties of Defendants in using the ATTUNE

 Knee System.

        104.    Said representations and warranties were false in that the ATTUNE Knee System

 was not safe, effective, fit, and proper for its intended use in that it had dangerous propensities

 when put to its intended use and would cause severe injuries to the user. Specifically: a.) The

 design of the ATTUNE Knee System subjected Plaintiff and others to risks, including the risk of

 mechanical failure, that Plaintiff would develop inflammation, swelling, bone loss, and de-

 bonding as a result of the implant, causing the implant to prematurely fail, and requiring Plaintiff

 to undergo a complex risky, and painful surgery to remove and replace the defective implant. b.)

 The ATTUNE Knee System that Plaintiff received was not accompanied by adequate instructions

 and/or warnings to fully inform Plaintiff of the full nature or extent of the risks associated with

 its use. The ATTUNE Knee System was not accompanied by a warning which specifically and

 fully informed Plaintiff of the risks of mechanical failure, inflammation, swelling, bone loss, and

 de-bonding.
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         105.   The acts of the Defendants were a cause of the injuries, damages, and losses of the

 Plaintiff.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that this Court enter judgment in favor of Plaintiff and

against Defendants, jointly and severally, in an amount that will compensate Plaintiff for all

injuries, damages, and losses. Plaintiff prays for interest, both statutory and moratory, from the

date of injury before and after judgment. Plaintiff prays for an award of costs, expert witness fees,

reasonable attorney fees, and all other appropriate relief. Plaintiff reserves the right to amend this

Complaint to add a claim for punitive damages at the appropriate time. Any further legal and

equitable relief that the Court deems just and proper.

                                         JURY DEMAND

  PLAINTIFF HEREBY DEMANDS A TRIAL BY JURY ON ALL ISSUES AND CLAIMS,
                INCLUDING ALL CLAIMS AND CROSS-CLAIMS


        DATED this 28th day of May, 2019.

                                                      Respectfully submitted,

                                                      BAITY & LINDVIG, LLC

                                                             s/ Stephen J. Baity
                                                      By: _____________________________
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